Case 2:01-cV-02936-BBD-tmp Document 42 Filed 07/20/05 Page 1 of 2 Page|D 54

FILEDBY ______n,¢,

IN THE UNITED sTATEs DIsTRlcT COURTgs JuL 20 AH 53 hs
FOR THE WESTERN DISTRICT oF TENNESSEE

 

wEsTERN DlvlsloN THOWS M.
111-1911 119 999°9?1"%
DENNIS V. MORGAN,
Plaintiff, Case No.: 01 -2936 D

V.

SHELBY COUNTY DEPARTMENT, et al.,

Defendant.

 

ORDER REGARDING STATUS REPORT AND CONFIRMING TRJ.AL DATE

 

lt appears that on June 1, 2004, the court entered an order scheduling the matter for trial on
October 24, 2005. The court fixed April 29, 2005, as the bar date for completing discovery. The
bar date for dispositive motions was June 7, 2005 .

From’ a review of the docket sheet, it appears that no discovery has been taken and no
dispositive motions have been filed. The parties are hereby directed to tile a joint case status report
by July 31, 2005. Unless the case has been otherwise resolved, the parties are further directed to be

ready to try the case on the merits on October 24, 2005, as no continuance will be entertained in this

1T ls so 0RDERE1) this a "‘~ day o%, 2005.

ITED STATES DISTR_ICT IUDGE

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Thls document entered on the docket sheet In compliance
with Ru\e 68 and/or 79[a`; FHCP on '

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case 2:0]-CV-02936 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

